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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  www.flsb.uscourts.gov

In re: Nanci Martinez                                                Case No. 20-12993-RAM
                                                                     Chapter 13


                  Debtor
____________________________/

                                  CERTIFICATE OF SERVICE

       Debtor certifies that a copy of the Debtor’s Chapter 13 Plan [D.E. 24] was sent via CM/ECF

on March 16, 2020, to:


       Nancy K. Neidich
       e2c8f01@ch13miami.com, ecf2@ch13miami.com

       Office of the US Trustee
       USTPRegion21.MM.ECF@usdoj.gov

       Served by First Class Mail on March 18, 2020:

       Resurgent Capital Services
       PO Box 10587
       Greenville, SC 29603-0587

        I certify that I am admitted to the Bar of the United States District Court for the Southern
District of Florida and I am in compliance with the additional qualifications to practice in this court
set forth in Local Rule 2090-1(A).

                                              Respectfully submitted,

                                              Legal Services of Greater Miami, Inc.
                                              Attorney for Debtor
                                              Address: 4343 West Flagler Street, Suite 100
                                              Telephone/Fax: (305) 438-2423
                                              Email: malvarez@legalservicesmiami.org
                                                          /s/
                                              Maria Alvarez
                                              Florida Bar No.: 57141
